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                               IN THE UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION


IN RE: Eddie Carl Lindsey                                               CHAPTER 13
       2700 Spring Creek Dr
       Spring, TX 77373                                                 CASE NO. 24-33610-H1

                       DEBTOR

                                 NOTICE RESETTING DISMISSAL HEARING

         You are hereby advised that the dismissal hearing regarding the above referenced case has been
rescheduled for 02/18/2025 at 11:00 am. at the U.S. Bankruptcy Court, 515 Rusk, Room 404, 4th Floor, Houston, TX
77002-0000.


DATED: January 29, 2025                                      /s./ David G. Peake
                                                             DAVID G. PEAKE, TRUSTEE
                                                             ADMISSIONS ID NO. 15679500
                                                             9660 HILLCROFT, STE 430
                                                             HOUSTON, TX 77096
                                                             (713)283-5400




                                           CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the foregoing Notice Resetting Dismissal Hearing has been
served electronically on all parties requesting electronic notice and has been served on the listed parties (if listed) by
mailing a copy of same to the address listed below via first class mail Wednesday , January 29, 2025.



 Debtors:
 Eddie Carl Lindsey
 2700 Spring Creek Dr
 Spring, TX 77373

 Debtor's Attorney:
 JAMES Q POPE
 THE POPE LAW FIRM
 6161 SAVOY SUITE 1125
 HOUSTON, TX 77036


                                                             /s./ David G. Peake
                                                            DAVID G. PEAKE, TRUSTEE
